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5
                                   UNITED STATES DISTRICT COURT
6
                             WESTERN DISTRICT OF WASHINGTON AT SEATTLE

7    NORTHWEST ADMINISTRATORS, INC.,
                                                                                       NO.
8                                         Plaintiff,
9
                 V.                                                                    COMPLAINT TO COMPEL AUDIT
10
     MONTANA STATE UNIVERSITY, a
il   Montana public land-grant research
     university
t2
                                          Defendant.
13


14

15
                 Plaintiff, Northwest Administrators, Inc., is an organization incorporated
16

     under the laws of the State of Washington, with its principal piace of business in
17

18   King County, and is the authorized administrative agency for and the assignee of

19   the Western Conference of Teamsters Pension Trust Fund (hereinafter "Trust").

20
                                                                                 II.

21
                 The Western Conference of Teamsters Pension Trust Fund is an
22
     unincorporated association operating as a Trust Fund pursuant to Section 302 of
23

24

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     COMPLAINT TO COMPEL AUDiT - 1
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                                                                                               Reid, McCarthy, Ballew & Leahy, L.L.P.
                                                                                                                ATTORNEYS AT LAW
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                Case 2:19-cv-01999 Document 1 Filed 12/09/19 Page 2 of 5




     the Labor Management Relations Act of 1947, as amended, to provide retirement
1

2
     benefits to eligible participants.

3                                                                                 II!.

4                This Court has jurisdiction over the subject matter of this action under
5
     Section 502(e)(1) and (f) of the Employee Retirement Income Security Act of 1974
6
     ("ERISA")>29U.S.C.§1132(e)(1)and(f)andunder§301(a)oftheTaft-HartieyAct,
7
     29U.S.C.§185(a).
8

                                                                                  IV.
9

10               Venue is proper in this District under Section 502(e)(2) of ERISA, 29 U.S.C.

11   §1132(e)(2), because the Plaintiff Trust Fund is administered in this District.

12
                                                                                  V.

13
                 Defendant is a Montana public land-grant research university.
H
                                                                                  V!.
!5
                 Defendant is bound to a collective bargaining agreement with Local 2 of the
16


17
     International Brotherhood of Teamsters (hereinafter "Local"), under which the

18   Defendant was required to promptly and fully report for and pay monthly

19   contributions to the Trust at specific rates for each hour of compensation (including

20
     vacations, holidays, overtime and sick leave) said Defendant paid to its employees
21
     who were members of the bargaining unit represented by the Local (such
22
     bargaining unit members were any of the Defendant's part time or full time
23


24


25
     COMPLAINT TO COMPEL AUDIT " 2
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                                                                                         Reid, McCarthy, Ballcw & Leahy, L.I..P.
                                                                                                         ATTORNEYS AT LAW
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                                                                                                     SEATTLE, WASHINGTON 98119
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                                                                                                              e^,^^.,^
                   Case 2:19-cv-01999 Document 1 Filed 12/09/19 Page 3 of 5




         employees who performed any work task covered by the Defendant's labor contract
1

         with the Local, whether or not those employees ever actually joined the Local).
2

3                                                                                    Vli.

4                    Defendant accepted the Trust's Agreement & Declaration Agreement ("Trust

5        Agreement") which provides in part:
6
                                 Each Employer shall promptiy furnish to the Trustees or
7                                their authorized representatives on demand any and al!
                                 records of his past or present Employees concerning the
8                                classification of such Employees, their names, Social
                                 Security numbers, amount of wages paid and hours
9
                                 worked or paid for, and any other payroll records and
10
                                 information the Trustees may require in connection with
                                 the administration of the Trust Fund, and for no other
II                               purpose. The Trustees or their authorized
                                 representatives may examine any books and records of
12                               each employer, which the Employer is required to furnish
                                 to the Trustees on demand whenever such examination
13
                                 is deemed necessary or desirable by the Trustees in the
14                               proper administration of the Trust. If it becomes
                                 necessary for the trustees to retain legal counsel to
15                               compei an Employer to furnish to, or permit the
                                 examination of books, or records or information by, the
16                               Trustees or their representatives, the Employer shall
                                 reimburse the Trust fund for all reasonable attorney's
17
                                 fees and court costs incurred by the Trust Fund in
18                               connection therewith, whether or not legal proceedings
                                 were instituted and whether or not such examination
19                               disclosed that the Employer has failed to make
                                 appropriate or timely Employer Contributions to the Trust
20                               Fund.

21
                                                                                 VIII.
    22
                     The Trustees of the Western Conference of Teamsters Pension Trust deem
    23
         it both necessary and advisable to the proper administration of the Trust that their
    24


    25
         COMPLAINT TO COMPEL AUDIT " 3
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                                                                                            Reid, McCarthy, Ballew & Leahy, L.L.R
                                                                                                             ATTOHNKYSATLAW
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          authorized representatives examine the Defendant's books and records for the
1

     [] inclusive period January 1, 2015 through June 30, 2019 to determine if the

3 || Defendant previously reported for and paid to the Trust alf of the amounts due for

4 [| the Defendant's employment of members of the bargaining unit represented by the

     |[ Trust for said period.
6
                                                                                       IX.
7 It
                      Despite notification to the Defendant of the Trustees' desire to conduct an
8

          audit for the period January 1, 2015 through June 30, 2019, and demands made

lo |[ upon the Defendant on the Trust's behalf for access to Defendant's records for an

n || examination of them for that period, to date the Defendant has failed and refused to

12 || make all of its records available for the thorough examination the Trustees deem

          necessary and advisable to the proper administration of the Trust.
14
                      WHEREFORE, plaintiff, on the Trust's behaif, prays the court as foiiows:
15
                      1. That the Court enter an Order Compeiling Audit under which
i6

          Defendant shall be directed by the Court, within a specified time, to make available

i8 11 to the authorized representatives of the Trustees of the Trust for the period January

i9 U 1, 2015 through June 30, 2019:

  || A. Individual payroll records for ail employees, not Just bargaining
^ II unit employees;
                                   B. Employee roster listing all employees, not just bargaining unit
22 || employees;
        C. Signed Temporary Agency Personnel (TAP) Declaration;
" |[ D. Temporary Agency Personnel Invoices (if necessary);
           E. State Employer Security Quarterly Reports; and
24 11 F. Vendor List/

     11 COMPLAINT TO COMPEL AUDIT - 4
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                                                                                                  TELRPHONK: (206) 285-046-1 • FAX: (ZOfi) Z«5-8925
                Case 2:19-cv-01999 Document 1 Filed 12/09/19 Page 5 of 5




                 2. Afford to the authorized representatives of the Trustees of the Trust
1

     both ample time and opportunity to examine ail such materials of Defendant at such
z

3    time and at such place as shall be convenient to the Trustees' authorized

4    representatives.

5
                 3. For judgment against the Defendant for:
6
                             A. All of the Plaintiff's attorney's fees incurred in gaining auditor
7
                                          access to Defendant's records;
8
                             B. Ail of the Piaintiff's costs incurred in gaining auditor access to
9

10                                        defendant's records, and

11                           C. For such other and further relief as the Court may deem just

12
                                          and equitable.
13
                 DATED this ^f day of December, 2019.
14

15                                                                               REID, MCCARTHY, BALLEW & LEAHY,
                                                                                 L.L.P.
16

17

18                                                                               Russeil J. Reid/W^BA #2560
                                                                                 Attorney for Plaintiff
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     COMPLAINT TO COMPEL AUDIT - 5
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